972 F.2d 339
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawson DEEL, Petitioner,v.FOX TEN COAL CORP.;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 92-1407.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 9, 1992Decided:  August 24, 1992
    
      On Petition for Review of an Order of the Benefits Review Board.  (89-0323-BLA, 89-0323-BLA-A)
      Lawson Deel, Petitioner Pro Se.
      Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, D.C.;  Michael John Denney, Richard Anthony Seid, United States Department of Labor, Washington, D.C., for Respondents.
      Ben.Rev.Bd.
      Affirmed.
      Before MURNAGHAN, WILKINSON, and HAMILTON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Lawson Deel seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. # 8E8E # 901-945 (West 1986 &amp; Supp. 1992).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Deel v. Fox Ten Coal Corp., Nos. 89-0323-BLA, 89-0323BLA-A (B.R.B. Feb. 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    